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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
UNITED STATES OF AMERICA                                      :
                                                              :   19 Crim. 366 (LGS)
                           -against-                          :
                                                              :        ORDER
STEPHEN M. CALK,                                              :
                                             Defendant. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, an arraignment hearing was held on March 5, 2021. For the reasons stated

during the arraignment hearing, it is hereby

        ORDERED that, by May 20, 2021, the parties shall file revised versions of the following

documents: the joint statement as provided in the Court’s Individual Rule H.1, joint proposed

voir dire, joint proposed requests to charge, and joint proposed verdict sheet, in each case noting

any disagreements between the parties. It is further

        ORDERED that, by May 6, 2021, the parties shall file a list of all proposed exhibits,

indicating whether the parties have stipulated to admissibility or there are any objections on

authenticity or other grounds. To the extent there are objections to an exhibit, the list should

state what the objection is. It is further

        ORDERED that, by May 6, 2021, the parties shall provide electronic, text-searchable (if

possible) copies of each exhibit, clearly labeled and in PDF format. The PDF shall include the

exhibit list, hyperlinked to each exhibit. The parties shall save the PDF to a CD, which should

be hand delivered or sent by overnight mail to the Court. It is further

        ORDERED that, because of the current circumstances of the COVID-19 pandemic

including the challenges in seating a jury, obtaining the presence of out-of-state witnesses, and

ensuring the safety of all involved, the Court finds that the ends of justice served by excluding
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the time between today and June 22, 2021, outweigh the best interests of the public and the

Defendant in a speedy trial as provided in 18 U.S.C. § 3161(h)(7)(A), and the time between

today and June 22, 2021, is excluded.


Dated: March 25, 2021
       New York, New York




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